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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

          v.                                           Criminal Action No. 21-642 (JDB)

 DARRELL NEELY,
         Defendant.


                                           ORDER

       Defendant Darrell Neely is charged via indictment with six offenses related to the breach

of the U.S. Capitol on January 6, 2021. Before the Court are four motions in limine: (1) Neely’s

motion to exclude evidence of others’ conduct, (2) the government’s motion to preclude certain

arguments related to the media, (3) the government’s motion to limit questioning about a woman

Neely was with while in the Capitol, and (4) the government’s motion to preclude various defense

arguments. For the reasons explained below, the Court will deny Neely’s motion, grant the

government’s motion to preclude arguments related to the media, defer ruling on the government’s

motion to limit questioning about the woman who accompanied Neely into the Capitol, and grant

in part and deny in part the government’s motion to preclude certain defense arguments.

                                         Background

       On January 6, 2021, the U.S. Congress was convened in the Capitol for a joint session to

certify the Electoral College vote count from the November 2020 presidential election. Statement

of Facts [ECF No. 1-1] at 1. The Capitol was closed to the public, and the U.S. Capitol Police

(“USCP”) had erected temporary and permanent barricades around the exterior of the Capitol. Id.

A large crowd gathered outside the barricades, and around 2:00 p.m. members of the crowd

violently forced their way into the Capitol, past officers of the USCP and over or through

barricades. Id. Shortly after, members of the U.S. House of Representatives and U.S. Senate, as

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well as then-Vice President Michael Pence, were forced to evacuate and effectively suspend the

joint session. Id.; see also United States v. McHugh, 583 F. Supp. 3d 1, 7–9 (D.D.C. 2022) (further

describing the violence and destruction on January 6).

       A few days after January 6, the FBI received a tip that Neely was among the crowd of

people who forced their way into the Capitol on January 6. Statement of Facts at 2. The FBI

identified Neely in video footage from the Capitol and interviewed witnesses who had

communicated with Neely about his participation in the Capitol riot. Id. at 2–3. The government

reports that in the days following January 6, Neely bragged about stealing items from the Capitol

on his streaming radio show called the “Global Enlightenment Radio Network,” Mot. to Dismiss

Information [ECF No. 31] (“Mot. to Dismiss Case”) at 2, and broadcast his show wearing a USCP

baseball cap, Statements of Facts at 3–4.

       Neely is charged via indictment with six offenses: civil disorder and aiding and abetting,

in violation of 18 U.S.C. §§ 231(a)(3) and 2 (Count One); theft of government property, in

violation of 18 U.S.C. § 641 (Count Two); entering and remaining in a restricted building or

grounds, in violation of 18 U.S.C. § 1752(a)(1) (Count Three); disorderly and disruptive conduct

in a restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(2) (Count Four); violent

entry and disorderly conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D)

(Count Five); and parading, demonstrating, or picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e)(2)(G) (Count Six). See Indictment [ECF No. 61].

       Neely and the government each filed numerous motions in limine. At the February 9, 2023

status conference, the parties represented that only four of those motions still required resolution

by the Court: Neely’s motion to exclude evidence of others’ conduct, Def.’s Mot. in Lim. to

Exclude Evid. Concerning Conduct by Others [ECF No. 34] (“Neely Mot.”); the government’s

motion to preclude certain arguments related to the media, Gov’t’s Mot. in Lim. to Preclude Evid.

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& Arg. Related to Cases Against Members of the News Media [ECF No. 47] (“Gov’t Media

Mot.”); the government’s motion to limit questioning about a woman Neely was with while in the

Capitol, Gov’t’s Mot. in Lim. to Limit Quest. & Arg. Regarding the Woman with Whom Def.

Entered the Capitol [ECF No. 48] (“Gov’t Pink Beret Mot.”); and the government’s motion to

preclude various arguments by Neely, Mot. in Lim. to Preclude Certain Def. Arg. [ECF No. 50]

(“Gov’t Mot. to Preclude Defenses”). All four motions are fully briefed and ripe for decision.

  I.   Neely’s Motion to Exclude Evidence of Others’ Conduct

       Neely seeks to exclude “all evidence concerning conduct and statements of others who may

have been in [his] general vicinity on January 6.” Neely Mot. at 1. He argues that “an aiding and

abetting theory” requires that Neely have “full and advance knowledge of the crime [he] allegedly

facilitated” and argues that because he “had no advance notice” of “other actors’ obstructions of

official proceedings,” “evidence of any conduct of other people in the Capitol building that [he]

did not know about in advance of his own actions is not relevant.” Id. at 2–4. Even if relevant, he

argues, “its probative value is outweighed by the potential for unfair prejudice and [the evidence]

should be excluded under Fed. R. Evid. 403.” Id. at 4–5.

       The government responds that “[t]he actions of other rioters within the mob are relevant in

all January 6 cases due to the nature of the event.” Gov’t’s Opp’n to Neely Mot. [ECF No. 42] at

5. Such evidence is “consequential to a specific defendant’s mental state, knowledge[,] and

opportunity to commit the charged crimes.” Id. The government contends that Neely “heard and

saw other rioters discussing their intent to enter the U.S. Capitol building and disrupt the

Congressional proceeding counting the votes of the Electoral College.” Id. at 6.

       This issue has arisen in other January 6 cases, and this Court has previously ruled that

contextual evidence “showing the actions of the crowd and the pressures facing law enforcement

is certainly relevant” to some charges arising out of January 6. Order at 2, United States v.

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Sheppard, No. 21-203 (JDB) (D.D.C. Jan. 6, 2023), ECF No. 66 (“Sheppard Order”). As noted in

Sheppard, “the government cannot fully explain the actions of [the defendant] and those around

him without showing the jury the context of the day.” Id. at 3; see also Mem. & Order at 2–3,

United States v. Gillespie, No. 22-60 (BAH) (D.D.C. Nov. 30, 2022), ECF No. 43 (“Gillespie

Order”) (“All such ‘general evidence’ about the events on January 6 assists the jury in better

understanding the parties’ actions that day and thus the alleged criminal conduct of defendant.”).

       Such evidence is relevant to each offense charged. Most obviously, it is relevant to the

mens rea element of each offense—Neely’s awareness of the “chaos, . . . the pressures facing law

enforcement[,] and the sheer force of his fellow demonstrators” is relevant to whether he knew the

area was restricted or intended to act in a certain way. See Sheppard Order at 3. It is also relevant

to other elements—for example, the government charges him in Count One with civil disorder in

violation of 18 U.S.C. § 231(a)(3), which requires the government to show that Neely

       committed [or] attempted to commit any act to obstruct, impede, or interfere with
       a law enforcement officer, lawfully engaged in the lawful performance of his/her
       official duties, incident to and during the commission of a civil disorder, which in
       any way [or] degree obstructed, delayed, [or] adversely affected . . . the conduct
       and performance of any federally protected function.

Indictment at 1. “[C]ivil disorder” is defined as “any public disturbance involving acts of violence

by assemblages of three or more persons, which causes an immediate danger of or results in

damage or injury to the property or person of any other individual.” 18 U.S.C. § 232(1). As the

Gillespie court reasoned,

       [p]lainly, others’ actions on January 6 at the Capitol in combination with
       defendant’s own actions are relevant to whether a federally protected function . . .
       was obstructed, delayed, or adversely affected and whether the events on January 6
       constitute a public disturbance involving the violence of three or more people and
       posing dangers to people and property.

Gillespie Order at 3–4.



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       Neely is correct that some such “context” evidence, even if relevant, may prejudice jurors

by causing them to improperly impute the “flagrant, provocative[,] and violent actions of others”

to Neely. Neely Mot. at 5. Even so, prejudicial evidence is inadmissible under Rule 403 only if

the evidence’s “probative value is substantially outweighed by a danger of,” among other things,

“unfair prejudice.” Fed. R. Evid. 403. Because it is not the case that all evidence of others’ actions

will be unduly prejudicial, the Court will deny the motion as overbroad and premature. However,

the parties should confer to determine if there are specific pieces of evidence for which the unfair

prejudice substantially outweighs the probative value—for example, videos of violence in parts of

the Capitol where Neely is not alleged to have been—and which should accordingly be excluded.

If there are still disputes remaining after the parties confer, Neely may challenge particular

proposed exhibits during trial outside the presence of the jury.

 II.   Government Motion to Preclude Argument Related to the Media

       The government suggests that Neely may argue that “he should not have been charged in

this case because he is a member of the news media” and that he may seek to support that argument

with evidence that other members of the media were not charged. Gov’t Media Mot. at 2. The

government contends that such an argument would in effect “be an argument based on selective

prosecution,” which “implicates ‘an issue of law entirely independent of the ultimate issue of

whether the defendant actually committed the crimes for which []he was charged.’” Id. at 2–3

(quoting United States v. Washington, 705 F.2d 489, 495 (D.C. Cir. 1983)). Accordingly, the

government moves to “preclude evidence or argument at trial about the status, disposition,

pendency, or lack of charges related to cases against members of the news media arising out of the

events of January 6, 2021.” Id. at 1.

       Neely responds that he “intends to present evidence of his employment” but “has no

intention of arguing any facts regarding others ‘which would implicate procedural events occurring

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after January 6,’” including decisions to prosecute. Def.’s Resp. to Gov’t Media Mot. & Gov’t

Mot. to Preclude Defenses [ECF No. 71] (“Neely Resp.”) at 1.

       The Court agrees that evidence related to charging decisions concerning members of the

media is not relevant to Neely’s guilt or innocence, and Neely represents that he does not intend

to introduce any such evidence. The Court will accordingly grant the government’s motion.

III.   Government Motion to Limit Questioning About Woman in Pink Beret

       Video footage shows that Neely walked into the Capitol alongside an unidentified woman

wearing a pink beret. See Gov’t Pink Beret Mot. at 2; Def.’s Resp. to Gov’t Pink Beret Mot. [ECF

No. 72] (“Resp. to Pink Beret Mot.”) at 9. They walked around the Capitol together, and,

according to Neely, the woman “immediately turn[ed] around when Neely [wa]sn’t looking” and

“r[an] to the escalator shaft,” “duck[ed] down,” “remove[d] her beret, and continue[d] up the

escalator in a crouched position.” Id. at 10–11. The government asks the Court to preclude Neely

from “ask[ing] questions or mak[ing] argument” at trial that the woman “was a member of law

enforcement.” Gov’t Pink Beret Mot. at 1.

       Neely’s opposition repeatedly suggests that the woman in the pink beret may be a

government informant. See Resp. to Pink Beret Mot. at 16 (claiming that the evidence “warrants

inquiry about whether Pink Beret was somehow part of the planning of the Capitol breach as a

government agent or cooperator”). In service of his theory, Neely tracks the woman’s movements

across the Capitol grounds and building, identifies each piece of clothing she was wearing, and

makes provocative assertions about her behavior and motivation on January 6, such as, “Why

befriend a stranger only to mysteriously ditch him?” id. at 11, “[Neely] needs to understand if he

was targeted by her that day and for what purpose,” id. at 15, and, “She had associates in the

building that day and seemed to have information well beyond that of a normal citizen there to

protest,” id. He also asserts that she may have information favorable to the defense. He

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accordingly asks the Court to order the government to identify the woman and allow him to cross-

examine government witnesses about her identity. Id. at 17.

       The government, for its part, asserts that it has no evidence that the woman was a member

of law enforcement. See Gov’t Pink Beret Mot. at 3; cf. Gov’t’s Reply Br. in Supp. of Gov’t Pink

Beret Mot. [ECF No. 78] at 2 (arguing that Neely’s “conclusion that this woman must be a member

of law enforcement” is “an improbable flight of fancy” (internal quotation marks omitted)).

       Two issues are thus teed up by the government’s motion and Neely’s response: (1) whether

the government has an obligation to identify the woman in the pink beret; and (2) whether Neely

should be permitted to cross-examine government witnesses at trial about whether she is a

government agent.

       In some circumstances, identification of potential defense witnesses is required by Brady

v. Maryland, 373 U.S. 83 (1963). See, e.g., Leka v. Portuondo, 257 F.3d 89, 103 (2d Cir. 2001)

(holding that government’s functional disclosure of individual with information helpful to the

defense on the eve of trial “suppressed” potential witness’s testimony under Brady); United States

v. Barnes, 486 F.2d 776, 779–80 (8th Cir. 1973) (“[W]here the informant is shown to be a material

witness and the government does not plan to use the informant as a witness it owes a duty to make

every reasonable effort to have the informant made available to the defendant to interview or use

as a witness, if desired.” (footnote omitted)).

       However, “[c]riminal defendants are only entitled to statements of non-testifying

witnesses . . . if those statements qualify as Brady material.” United States v. Edelin, 128 F. Supp.

2d 23, 33 (D.D.C. 2001). To qualify as Brady material that requires disclosure, the evidence must

be (1) material, meaning there is a “reasonable probability” that it would impact the outcome of

the proceeding, United States v. Bagley, 473 U.S. 667, 682 (1985), and (2) “in [the government’s]

possession,” United States v. Trie, 21 F. Supp. 2d 7, 23 (D.D.C. 1998).

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         Neely suggests that the woman’s testimony would be material because she “would be able

to testify that” (1) “Neely did not steal anything while inside the Capitol,” (2) “the police items

were returned to the officer in the Crypt,” (3) he “was never told by the officers they encountered

to leave the building,” and (4) “he informed officers he was a journalist and was attempting to

live stream for his media channel.” Resp. to Pink Beret Mot. at 16. Based on this “proffer” of

possible testimony, the woman in the pink beret may have exculpatory information —most likely

related to the theft charge against Neely. If there is a basis to believe that she could so testify and

her identity (and presumably statements) 1 are within the government’s possession—i.e., if it knows

who she is—the government may be required to identify her.

         However, Neely’s motion does not give the Court enough information to establish that this

woman does, in fact, have exculpatory information. Indeed, the “proffer” of possible testimony is

no more than speculation—it does not seem to represent likely evidence. The Court thus intends

to probe at the May 10, 2023 pretrial conference whether there is a basis for Neely’s proffer of

what the witness would testify to. Neely must be able to explain why the testimony would be

material—a higher bar than mere relevance 2—and provide the Court with a basis to believe that

the witness would so testify. If, and only if, that proffer is adequate, the Court will probe whether




         1
            Depending on the government’s familiarity with the woman—including whether she is a government
actor—one could presume that it is aware of any potentially helpful testimony she might provide. See Leka, 257 F.3d
at 103 (“assum[ing] that the prosecutor knew the content of [the suppressed witness’s] exculpatory testimony” when
the witness was “a police officer [who] had witnessed the shooting”). The same presumption may not necessarily be
present if the government knows of her identity simply because she had been investigated as another rioter.
         2
           In almost all January 6 cases, the identity of a rioter with whom a defendant interacted would not fall under
Brady. For example, if Neely sought to identify people around him in hopes of eliciting testimony that he did not
assault any officers, or yell, such evidence would almost certainly fall short of Brady evidence—it would be
cumulative of video evidence, and not truly material to the charges against him. The Court entertains Neely’s request
based primarily on the theft charge. A witness who was present with Neely when he picked up the items may have
material testimony given that offense’s specific intent requirement. See Morissette v. United States, 342 U.S. 246,
271 (1952) (defendant may not be guilty of theft of government property if he “truly believed” property was
abandoned). Even so, Neely must offer a more specific explanation of what she would testify to and how it would be
material.
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the government is aware of both her identity and what she could testify about. The parties should

be prepared to discuss these issues at the pretrial conference.

       The second issue—whether the defense may cross-examine government witnesses about

the woman’s alleged status as a government agent—will depend in part on that discussion.

“Counsel . . . must demonstrate that ‘the proposed line of cross-examination follow[s] a lead

reasonably suggested by other facts in evidence.’” United States v. McCallum, 885 F. Supp. 2d

105, 117 (D.D.C. 2012), aff’d, 721 F.3d 706 (D.C. Cir. 2013) (quoting United States v. Lin,

101 F.3d 760, 768 (D.C. Cir. 1996)). Absent a specific basis to believe that this woman may have

connections to law enforcement—and especially if the government represents that she does not—

there would be no justification for that line of cross-examination of individual government

witnesses, who are likely to have even less information about her status than the prosecution team

investigating this case. Accordingly, the Court will defer ruling on the government’s motion in

limine regarding the woman in the pink beret.

IV.    Government Motion to Preclude Potential Defenses

       The government’s final motion in limine seeks an order precluding Neely from (1) arguing

an entrapment-by-estoppel defense; (2) arguing that alleged law enforcement inaction made his

conduct on January 6 legal; (3) presenting evidence of inaction by law enforcement officers of

which he was not aware at the time; and (4) arguing that the property he took from the Capitol was

abandoned. See Gov’t Mot. to Preclude Defenses.

       The Court will grant the government’s first three requests, which are largely unopposed.

First, as this Court and others have found, then-President Trump’s speech on January 6 cannot be

the basis for an entrapment-by-estoppel defense as “public authority and entrapment-by-estoppel

defenses are available only when the official’s statements or conduct state or clearly imply that the

defendant’s actions are lawful,” and “there is simply no indication that Trump informed the

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protestors that [their actions] would be legal.” Sheppard, 2022 WL 17978837, at *9 (D.D.C. Dec.

28, 2022). Neely represents that he does not intend to argue entrapment-by-estoppel. See Neely

Resp. at 2. The government’s request will thus be granted.

       Similarly, the government’s second request—that Neely be precluded from arguing that

any inaction by law enforcement made his conduct on January 6 legal—will also be granted.

“Settled caselaw makes clear that law officer inaction—whatever the reason for the inaction—

cannot sanction unlawful conduct.” Mem. & Order at 3, United States v. Williams, Crim. A. No.

21-377 (BAH) (D.D.C. June 8, 2022), ECF No. 87 (citing Cox v. Louisiana, 379 U.S. 559, 569–

70 (1965)) (denying similar motion in another January 6 case).

       Third, evidence of law enforcement inaction that Neely himself did not perceive or was not

aware of will be excluded as irrelevant. See id. at 3–4 (“As a logical matter, however, any action

or inaction of which defendant was not aware cannot possibly have had any effect on his state-of-

mind and is inadmissible as irrelevant under Federal Rule of Evidence 401.”).

       Neely does not appear to directly oppose the government’s law enforcement-related

motions. He notes only that evidence related to law enforcement conduct that he “observed and/or

was made aware of . . . goes directly to his ‘state of mind,’” which is relevant to the charges against

him. Neely Opp’n at 3. The Court agrees that some evidence of law enforcement action or inaction

that Neely himself perceived or was otherwise aware of may be relevant—the rulings here do not

preclude him from introducing any such evidence. They preclude only (1) arguments that such

inaction legalized his actions and (2) evidence of officer conduct of which Neely was not aware

on January 6.

       The government’s final request in this motion is that the Court preclude Neely from arguing

that the property he took from the U.S. Capitol was abandoned. See Gov’t Mot. to Preclude

Defenses at 6. “Abandonment is a defense to a prosecution brought under 18 U.S.C. [§] 641,”

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United States v. Shackelford, 677 F.2d 422, 425 (5th Cir. 1982) (citing Morissette, 342 U.S. at

246), and Neely’s response suggests he intends to argue this defense, see Neely Resp. at 3. “A

defendant is only entitled to an instruction on a [affirmative defense] if there is ‘sufficient evidence

from which a reasonable jury could find’ for the defendant on that theory.” United States v.

Nwoye, 663 F.3d 460, 462 (D.C. Cir. 2011) (quoting United States v. Akhigbe, 642 F.3d 1078,

1083 (D.C. Cir. 2011)).

         A defendant “could not have knowingly converted property which he did not know could

be converted, as would be the case if it was in fact abandoned or if he truly believed it to be

abandoned.” Shackelford, 677 F.2d at 425. At this point, however, Neely has presented no

evidence from which a reasonable jury could find that the allegedly stolen property was abandoned

or that Neely “truly believed” that it was. 3 See Morissette, 342 U.S. at 271.

         The government alleges that a USCP Officer removed the stolen items (a jacket, badge,

name tag, and cap) “during decontamination from lacrimal spray” during the chaos of January 6.

See Statement of Facts at 3–4. One witness stated that Neely “boasted that he had attacked a USCP

officer and had taken the USCP jacket, badge, name tag, and baseball cap from the officer.” Id. at

3. He was seen after January 6 with the officer’s items as well as four china plates Neely suggested

he took from the Capitol. Id. The Court is not aware of analogous scenarios in which an

abandonment instruction was warranted and Neely has presented none. Cf. Morisette, 342 U.S. at



         3
          Neither side has proposed jury instructions for this count, so the Court will not address that here. However,
other courts in this district have included in jury instructions a requirement “that the person intended to deprive,
without right, the United States government of the use or benefit of the property.” See, e.g., Final Jury Instructions at
34, United States v. Williams, Crim. A. No. 21-618 (ABJ) (D.D.C. Nov. 16, 2022), ECF No. 122 (emphases added).
         The government nonetheless argues that Neely must establish “a good-faith basis to argue that the property
in question was abandoned.” Gov’t’s Reply Br. in Supp. of Gov’t Media Mot. and Gov’t Mot. to Preclude Defenses
[ECF No. 77] at 6. But under 18 U.S.C. § 641, a jury must find that he had “criminal intent to steal or knowingly
convert,” meaning an honest belief that the property was abandoned—even if that belief is mistaken—could negate
the required mens rea. Morissette, 342 U.S. at 271 (“[I]t is not apparent how Morrisette could have knowingly or
intentionally converted property that he did not know could be converted, as would be the case if it was in fact
abandoned or if he truly believed it to be abandoned and unwanted property.”).

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276 (instruction warranted for defendant who took bomb casings from government property as

jury “might have concluded that the heaps of spent casings left in the hinterland to rust away

presented an appearance of unwanted and abandoned junk”). However, the Court does not know

the full extent of the evidence to be presented. Neely will have an opportunity during the pretrial

conference and, if warranted, during trial to present “sufficient evidence from which a reasonable

jury could find for [him] on that theory.” Nwoye, 663 F.3d at 462 (internal quotation marks

omitted). The Court will thus deny this request from the government without prejudice. The

government may renew this motion at the pretrial conference and, if applicable, during the final

jury instruction conference.

                                            *    *       *

        For the foregoing reasons, and upon consideration of the entire record herein, it is hereby

        ORDERED that [34] Neely’s motion to exclude evidence of others’ conduct is DENIED

as overbroad and premature; it is further

        ORDERED that [47] the government’s motion to preclude evidence of cases against

members of the media is GRANTED; it is further

        ORDERED that the parties should be prepared to discuss [48] the government’s motion

to limit questioning and argument regarding the woman in the pink beret at the May 10, 2023

conference; it is further

        ORDERED that [50] the government’s motion to preclude certain defenses is GRANTED

IN PART and DENIED IN PART; it is further

        ORDERED that the government’s requests to preclude Neely from arguing entrapment-

by-estoppel, arguing that law enforcement inaction made his conduct legal, and presenting

evidence of law enforcement inaction that he was not aware of on January 6 (requests 1, 2, and 3

in ECF No. 50) are GRANTED; and it is further

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       ORDERED that the government’s request to preclude Neely from arguing an

abandonment defense (request 4 in ECF No. 50) is DENIED without prejudice.

       SO ORDERED.


                                                                           /s/
                                                                    JOHN D. BATES
                                                                United States District Judge
Dated: April 18, 2023




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